            Case 4:08-cr-00194-BRW Document 31 Filed 08/22/08 Page 1 of 1




                               IN THE UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                        WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                           4:08CR00194(2-3)-WRW

RAY MIKE GRAHAM
JAMES MARK GRAHAM


                                             ORDER

         Pending before the Court is the Government’s Motion for Dismissal (doc #30). The Motion

is GRANTED, and the Indictment is dismissed as to defendants, Ray Mike Graham and James Mark

Graham.

         IT IS SO ORDERED this 22nd day of August, 2008.




                                                          /s/Wm. R. Wilson, Jr.
                                                     UNITED STATES DISTRICT JUDGE




orddismindictment.Graham.wpd
